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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION

                                  CASE NO.: 2:17-cv-14281-JEM

  JODY GUDGER AND RHONDA KING,
  on behalf of themselves and those similarly situated,

         Plaintiffs,
  v.

  CENTENE MANAGEMENT COMPANY, LLC.
  a Foreign Limited Liability Company, and
  SUNSHINE STATE HEALTH PLAN, INC.,
  Florida Profit Corporation,

        Defendants.
  _______________________________________/

   PLAINTIFFS’ MOTION TO CONDITIONALLY CERTIFY COLLECTIVE ACTION
       AND FACILITATE NOTICE TO POTENTIAL CLASS MEMBERS AND
                 INCORPORATED MEMORANDUM OF LAW

         Pursuant to the Federal and Local Rules of Civil Procedure, Plaintiffs, JODY GUDGER

  and RHONDA KING, on behalf of themselves and those similarly situated, (“Plaintiffs”), request

  the entry of an Order permitting, under court supervision, notice to following class of similarly

  situated employees:

         “Any and all salaried employees who worked for Defendants, anywhere in Florida, from
         August 7, 2014, through current, in any of the following positions:

                Case Manager, Long Term Care; or
                Nursing Home Transition Specialist; or
                Medical Necessity Specialist;

         And who worked forty (40) or more hours in one or more workweeks, were misclassified
         as exempt under the FLSA by Defendants, and were not paid time and one-half overtime
         compensation for their overtime hours worked.
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                                     MEMORANDUM OF LAW

  I.     THE FLSA AUTHORIZES COLLECTIVE ACTIONS

         The FLSA authorizes employees to bring an action on behalf of themselves and others

  similarly situated. See 29 U.S.C. § 216(b). The FLSA provides, in part, that:

         An action to recover the liability [for unpaid overtime] may be maintained against
         any employer (including a public agency) in any Federal or State court of competent
         jurisdiction by any one or more employees for and in behalf of them self or
         themselves and other similarly situated. No employee shall be a party plaintiff to
         any such action unless he gives his consent in writing to become such a party and
         such consent is filed in the court in which such action is brought.

  See id. (emphasis added). As further set forth below, the initial step is conditional certification and

  notice to potential class members upon the lenient standard of showing that the class members are

  similarly situated and that persons in addition to Plaintiff desire to opt into the action. See Hipp v.

  Liberty Nat’l Life Ins. Co., 252 F .3d 1208, 1219 (11th Cir. 2001); Grayson v. K-Mart Corp., 79 F.

  3d 1086, 1097 (11th Cir. 1996).

         Defendants are subsidiaries of, and owned by, the Centene Corporation, a multi-line

  healthcare enterprise, that provides nationwide programs and related services to individuals who

  are uninsured and underinsured. To provide these services Defendants, at any given time employed

  Plaintiffs, Opt-In Plaintiffs, and the putative class, to, among other things, conduct assessments of

  enrollees eligible for case based on predetermined standards, develop care plans based on directives

  and instruction from Defendants, assist with referrals to providers, resolve complaints and other

  matters within predetermined guidelines and action planes, and perform other related duties. See

  Declaration of Jody Gudger attached hereto and incorporated herein as Exhibit 1 at ¶¶8-11;

  Declaration of Rhonda King attached hereto and incorporated herein as Exhibit 2 at ¶¶8-11;

  Declaration of Crystal Freeman attached hereto and incorporated herein as Exhibit 3 at ¶¶8-11;

  Declaration of Yolanda Blocker attached hereto and incorporated herein as Exhibit 4 at ¶¶8-11;



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  Declaration of Michelle McLean attached hereto and incorporated herein as Exhibit 5 at ¶¶8-11;

  Declaration of Sylma Ocasio Peterson attached hereto and incorporated herein as Exhibit 6 at ¶¶8-

  11; Declaration of Carlie Larson attached hereto and incorporated herein as Exhibit 7 at ¶¶8-11;

  Declaration of Celeste Busbee attached hereto and incorporated herein as Exhibit 8 at ¶¶8-11;

  Declaration of Gregory Garofalo attached hereto and incorporated herein as Exhibit 9 at ¶¶8-9;

  Declaration of Tomeka Givhan attached hereto and incorporated herein as Exhibit 10 at ¶¶8-9; and

  Declaration of Cynthia Russell attached hereto and incorporated herein as Exhibit 11 at ¶¶8-11.

  These employees were subjected to the same illegal pay practices at issue (nonpayment of overtime

  compensation for hours worked over forty (40) during any workweek).

          Plaintiffs, along with nine (9) additional Opt-In Plaintiffs who have come forward to

  participate in this case, prior to any notice being issued, are current and former salary paid

  employees of Defendants who were not paid overtime compensation for any hours worked over

  forty (40) during any workweek; rather, they were just paid a flat salary. See Exhibit 1 at ¶¶6-12

  & 17; Exhibit 2 at ¶¶6-12 & 17; Exhibit 3 at ¶¶6-12 & 17; Exhibit 4 at ¶¶6-12 & 17; Exhibit 5 at

  ¶¶6-12 & 17; Exhibit 6 at ¶¶6-12 & 17; Exhibit 7 at ¶¶6-12 & 17; Exhibit 8 at ¶¶6-12 & 17; Exhibit

  9 at ¶¶6-9 & 15; Exhibit 10 at ¶¶6-10 & 15; and Exhibit 11 at ¶¶6-12 & 17. As evidenced by the

  attached Declarations and the Consents to Join on file with the Court, Plaintiffs performed the

  same or identical job duties; were paid in the exact same manner; and were not paid overtime

  compensation for hours worked over forty (40) per workweek. See Exhibits 1-10.

          Plaintiffs, and opt-in plaintiffs, knows that their claims are typical of the claims of other

  former and current salary paid employees of Defendants, and typical of the claims of all members

  of the representative class identified. See Exhibit 1 at ¶¶6-18; Exhibit 2 at ¶¶6-18; Exhibit 3 ¶¶6-

  17; Exhibit 4 at ¶¶6-17; Exhibit 5 at ¶¶6-17; Exhibit 6 at ¶¶6-17; Exhibit 7 at ¶¶6-17; Exhibit 8 at



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  ¶¶6-17; Exhibit 9 at ¶¶6-15; Exhibit 10 at ¶¶6-15; and Exhibit 11 at ¶¶6-17. Corroboration of

  Plaintiffs’ personal knowledge, however, is further evidenced by the fact that other similarly

  situated salary paid employees in the positions of Case Manager, Long Term Care and Medical

  Necessity Specialist/Nursing Home Transition Specialist attest to the same facts that although the

  name of the job title was changing, the job duties and pay structure of these positions remained the

  same, without change. See id.

           The named Plaintiffs, as well as nine (9) “Opt-In Plaintiffs” have filed Consents to join and

  Declarations in support of this Motion to date without the benefit of court facilitated notice. This

  evidence alone is sufficient to provide notice to the remaining class members at issue. See Dietrich

  v. Liberty Square, 230 F.R.D. 574, 579 (N.D. Iowa 2005)(two affidavits provide sufficient factual

  basis for similarly situated inquiry); Davis v. NovaStar Mortgage, Inc., 408 F. Supp. 2d 811, 816

  (W.D. Mo. 2005) (Affidavits provide appropriate support for conditional certification).1

           Simply put, the putative class is owed full and proper payment of overtime wages and the

  right to participate in this litigation. It is undisputed that Defendants have acted, or refused to act,

  on grounds applicable to all putative class members, thereby making the identical relief appropriate

  with respect to their current and former similarly situated employees. Moreover, the common

  questions of law and fact predominate over any questions affecting only Plaintiffs, and a collective

  action is superior to other available methods for the fair and equitable adjudication of the

  controversies between the representatives described above and the named Defendants. And,

  although the defined class is identified and certain, the individual members of the class cannot be




  1
    In another case, United States Magistrate Judge Frank Lynch, Jr., permitted notice to proceed stating that: “the
  Affidavit of [a single opt-in plaintiff] shows that at least one other co-worker desires to join the suit, thereby raising
  the Plaintiff’s contention beyond one of pure speculation.” Order on Plaintiff’s Motion for an Order Permitting
  Court Supervised Notice to Employees of Their Opt-in Rights, Larry Guerra v. Big Johnson Concrete Pumping,
  Inc., Case No.: 05-14237 (S.D. Fla. May 17, 2006).


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  completely identified and notified of their right to join this action absent access to Defendants’

  books and records regarding same.

         Defendants’ above compensation policies and practices (failure to pay overtime

  compensation) is common to all salary paid employees in the defined class. Defendants have not,

  and cannot, dispute this. Moreover, these common policies and procedures violate the FLSA’s

  overtime provisions requiring the payment of time and one half overtime compensation for each

  hour worked over forty (40) in a workweek. That is, because Defendants failed to pay the putative

  class members time and one half their regular rate for each hour of overtime worked, such

  compensation practices have adversely affected the rights of each member of this collective action.

         Therefore, Plaintiffs seek this Court’s authorization to facilitate notice to each of

  Defendant’s salary paid employees in the defined class who were subjected to the illegal pay

  practices described above at any time from August 7, 2014, through current at any of Defendants’

  locations in Florida.

         Plaintiffs further request that they be permitted to give such notice as approved by this

  Court to all such class members of their rights to opt-in to this litigation by executing an

  appropriate consent as required by Section 216(b) of the FLSA. Plaintiffs’ Declarations, and the

  Declarations of nine (9) additional Opt-In Plaintiffs who joined this action since the time it was

  filed, clearly establish that others in the defined class were paid in the same manner, and thus, were

  subjected to Defendants’ illegal pay practices described above.           The Declarations further

  demonstrate that others desire to and will join this action if given notice of same. Thus, conditional

  certification and notice is appropriate.




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  II.     APPLICABLE STANDARDS FOR COLLECTIVE ACTIONS

          FLSA class actions operate differently than the typical class action suits under Rule 23 of

  the Federal Rules of Civil Procedure. Under 29 U.S.C. § 216(b) of the FLSA, an employee

  belonging to a similarly situated class of plaintiffs must “opt-in” to the class by filing a written

  consent with the Court in order to be bound by the outcome of the case. Without signing and filing

  such an express consent, employees are not bound by the outcome of the litigation. See id.

  Conversely, in traditional class actions under Rule 23 of the Federal Rules of Civil Procedure, a

  plaintiff initiating a class action automatically represents every member of the class that has not

  expressly “opted-out.” See id.

          In Hoffman- La Roche, Inc. v. Sperling, 493 U.S. 165 (1989), the Supreme Court ruled that

  not only did trial courts have authority to compel defendant-employers to provide names and

  addresses of potential plaintiffs through the pretrial discovery process, but that this authority also

  included sending court-authorized consent forms to potential plaintiffs. See id. There, the Court

  addressed the issue of whether the district court may play any role on prescribing the terms and

  conditions of communication from the named plaintiffs to the potential members of the class on

  whose behalf the collective action has been brought. See id. The Court determined that district

  courts have discretion in appropriate cases to implement 29 U.S.C. §216(b) by facilitating notice

  to potential plaintiffs. See id. at 486. This authority arises from the Court’s broad discretionary

  power to manage the process of joining multiple parties in an orderly manner. See id.

          Trial court involvement in the notice process is inevitable in cases with numerous plaintiffs

  where written consent is required by statute. Thus, it lies within the discretion of the trial court to

  begin its involvement early, at the point of the initial notice, rather than at some later time. See id.

  Court authorization of notice serves the legitimate goal of avoiding a multiplicity of duplicative




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  suits and setting cutoff dates to expedite disposition of the action. See id. at 487. Additionally, the

  benefits of the class action provisions of 29 U.S.C. §216(b),“depend on employees receiving

  accurate and timely notice concerning the pendency of the collective action so they can make

  informed decisions about whether to participate.” Id. at 486.

         In Dybach v. State of Florida, Department of Corrections, 942 F .2d 1562 (11th Cir. 1991),

  the Eleventh Circuit found that an adult probation officer was non-exempt and therefore entitled

  to overtime compensation for all hours worked over forty (40) in multiple workweeks. See id. The

  Eleventh Circuit also held that the district court had authority to issue an order requiring notice to

  “similarly situated” employees of the defendant affording them the opportunity to “opt-in.” Id.

         A. At this Stage, the Eleventh Circuit Requires Only Minimal Evidence to Support
         Conditional Class Certification of a Class of Similarly Situated Workers

         The Eleventh Circuit utilizes a two-tiered approach to certification of an opt-in class

  pursuant to 29 U.S.C. §216(b). See Hipp v. Liberty Nat’l Life Ins. Co., 252 F .3d 1208, 1219 (11th

  Cir. 2001) (stating that the two-tiered approach “appears to be an effective tool for district courts

  in this circuit adopt it in future cases.”); see also, Cameron-Grant v. Maxim Healthcare Servs.,

  Inc., 347 F.3d 1240, 1243 & n.2 (11th Cir. 2003). Under this two-tiered approach, the court makes

  an initial determination, based solely upon the pleadings and any affidavits, whether notice of the

  action should be given to potential class members. See id. at 1218. During Stage I notice

  proceedings, “[p]laintiffs need show only that their positions are similar, not identical, to the

  positions held by the putative class members.” Grayson v. K Mart Corp., 79 F.3d 1086, 1096 (11th

  Cir. 1996)(internal quotations and citations committed)(emphasis added). Because the court has

  minimal evidence at this stage of the proceedings, this determination is made using a fairly lenient

  standard, and typically results in conditional certification of a representative class. See Healthcare

  Servs., Inc., 347 F.3d 1240 11th Cir. 2003); see also Pendelbury v. Starbucks Coffee Co., 2005


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  WL 84500, *3 (S.D. Fla. Jan. 3, 2005) (citing Hipp, 252 F.3d at 1218). Moreover, allowing

  plaintiffs and the putative class members to first proceed through notice and discovery is

  contemplated by the two tier approach. See Leuthold v. Destination Am., 224 F.R.D. 462, 467

  (N.D. Cal. 2004) (“The two-tier approach contemplates progression through the notice stage before

  reaching the more rigorous inquiry required to maintain the class. This is evident from the methods

  usually employed to decide the issues raised by the two tiers.”).

         B. Plaintiffs Demonstrate a Reasonable Basis for Conditional Certification of a
            Collective Action on Behalf of the Asserted Class of Similarly Situated Employees.

         For purposes of defining the “similarly situated class” pursuant to 29 U.S.C. §216(b), a

  plaintiff must only demonstrate that the defined class is comprised of employees who are similarly

  situated to the named plaintiff with regard to the defendant’s compensation practices. To satisfy

  the initial burden regarding notice under 29 U.S.C. § 216(b), “plaintiff[s] need only show that their

  positions are similar, not identical, to the positions held by the putative class members.” Hipp,

  252 F. 3d at 1217. see also, Pendlebury, 2005 U.S. Dist. LEXIS 574, at *8-10 (store managers

  from two (2) Starbucks’ locations in Broward County, Florida established the right to send notice

  to all similarly situated store managers across the United States who may have been misclassified

  as “exempt”). The “similarly situated” requirement of §216(b) is more elastic and less stringent

  than the requirements of Rule 23 (class actions), Rule 30 (joinder) and Rule 42 (severance). Hipp,

  252 F. 3d at 1219; see also, Pendlebury, supra; White v. Osmose, 204 F. Supp. 2d 1309, 1315

  (M.D. Ala. 2002). A plaintiff merely must demonstrate a “reasonable basis” for a collective action.

  Hipp, 252 F. 3d at 1219.

         There are questions of law or fact common to Defendants’ salary paid Case Managers,

  Long Term Care, Medical Necessity Specialists and Nursing Home Transition Specialists and the

  claims of the named Plaintiffs in the instant matter. Indeed, Plaintiffs’ claims are typical of the


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  claims of the other individuals in their positions that fall within the defined class. For conditional

  certification to be granted in cases arising under the FLSA, there is no requirement of “strict

  symmetry” or “absolute identity.” Rather, all that is required is a “reasonable basis.” Burks v.

  Equity Group Eufaula Div. LLC, 2007 U.S. Dist. LEXIS 79416 (M.D. Ala. 2007) (citing, Grayson

  v. K Mart Corp., 79 F.3d 1086, 1097 (11th Cir. 1996)); see also, Holt v. Rite Aid Corp., 333 F.

  Supp. 2d 1265, 1270 (M.D. Ala. 2004) (“[P]laintiff must make some rudimentary showing of

  commonality between the basis for his claims and that of the potential claims of the proposed class,

  beyond the mere facts of job duties and pay provisions.”); Bradford v. Bed Bath & Beyond, Inc.,

  184 F. Supp. 2d 1342, 1346-51 (N.D. Ga. 2002) (granting certification where "Plaintiffs have made

  substantial allegations, supported by evidence, that Defendant failed to comply with the FLSA by

  failing to pay overtime compensation to non-exempt employees on a class-wide basis.").

           While Plaintiffs have this burden, the burden is “not heavy,” and may be met by making

  substantial class-wide allegations, “that is, detailed allegations supported by affidavits which

  successfully engage [d]efendant’s affidavits to the contrary.” Id. at 1096-97 (internal quotations

  omitted) (emphasis added); Hipp, 252 F.3d at 1218-19. Further, “courts have held that Plaintiffs

  can meet this burden by making a modest factual showing sufficient to demonstrate that they and

  potential plaintiffs together were victims of a common policy or plan that violated the law.”

  Kreher v. City of Atlanta, 2006 WL 739572, at *3 (N.D. Ga. Mar. 20, 2006) (citing Hoffman v.

  Sbarro, Inc., 982 F. Supp. 249, 261 (S.D.N.Y. 1997)); see also Thiebes v. Wal-Mart Stores, Inc.,

  1999 WL 1081357, at *2 (D. Or. Dec. 1, 1999) (plaintiffs need only some factual nexus that they

  and the putative class were victims of a common policy or plan that violated the FLSA).

         As indicated above, based on the allegations in the Amended Complaint and the attached

  Declarations, Plaintiffs more than meet their burden to facilitate notice. Here, Defendants




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   employed similarly situated salary paid employees in the positions of Case Manager, Long Term

   Care; Medical Necessity Specialist and Nursing Home Transition Specialist who, despite the job

   title of the job position changing, were paid in the same way, who performed the exact or

   substantially similar duties, who worked substantial overtime hours, and who were subjected to

   Defendants’ illegal policy of not paying full and proper overtime compensation as required by the

   FLSA. See Exhibit 1 at ¶¶6-17; Exhibit 2 at ¶¶6-17; Exhibit 3 ¶¶6-17; Exhibit 4 at ¶¶6-17; Exhibit

   5 at ¶¶6-17; Exhibit 6 at ¶¶6-17; Exhibit 7 at ¶¶6-17; Exhibit 8 at ¶¶6-17; Exhibit 9 at ¶¶6-15; and

   Exhibit 10 at ¶¶6-15. To that end, Defendants previously employed numerous salary paid

   employees in the defined class, all of whom were subjected to Defendants’ ongoing unlawful

   compensation practices of failing to pay time and one-half overtime compensation for all hours

   worked over forty (40) within a workweek resulting in substantial underpayment of overtime

   compensation due and owing.

           Indeed, in the instant case, Plaintiffs have presented evidence which meets or exceeds what

   other district courts have deemed sufficient for conditional certification of an FLSA collective

   action. See Guerra v. Big Johnson Concrete Pumping, Inc., 2006 U.S. Dist. LEXIS 58484 (S.D.

   Fla. 2006) (conditional certification of an FLSA collective action granted based upon two

   affidavits – that of the single named plaintiff and one opt-in plaintiff); Reyes v. Carnival Corp.,

   2005 WL 4891058 (S.D. Fla. 2005) (named plaintiff's affidavit, in combination with the two opt-

   in plaintiffs’ notices of consent to join and affidavits sufficient to grant conditional certification of

   an FLSA collective action); see also, Reese, supra (affidavit of one named plaintiff and three opt-

   in plaintiffs, coupled with one prior lawsuit against the same defendants for the same overtime

   violations, sufficient for conditional certification of an FLSA collective action); see also, Ballaris,

   2001 WL 1335809, at *2 (allegations in complaint and two affidavits sufficient); see also Zhao v.




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   Benihana, 2001 WL 84500, at *2 (S.D.N.Y. May 7, 2001) (one affidavit based on plaintiff’s “best

   knowledge” sufficient);     see also Realite v. Ark Restaurants Corp., 7 F.Supp.2d 303, 307

   (S.D.N.Y. 1998) (allegations in complaint and plaintiffs’ affidavits sufficient); see also Allen v.

   Marshall Field & Co., 93 F.R.D. 438, 442-45 (N.D. Ill. 1982) (allegations in complaint sufficient);

   see also Sanders v. MPRI, Inc., 2008 WL 5572846 (W.D.Okla.2008) (pleadings and Plaintiff’s

   affidavit sufficient); see also Wajcman v. Hartman & Tyner, Inc., 2008 WL 203579 (S.D.Fla.

   2008) (allegations in Complaint and affidavits of 3 opt-ins sufficient); Gayle v. U.S., 85 Fed.Cl.

   72 (Fed.Cl. 2008) (allegations in complaint and affidavit of named Plaintiff sufficient). Based

   upon the Amended Complaint allegations and the above-referenced Declarations, along with the

   participation of the Opt-In Plaintiffs to date (pre-notice), Plaintiffs satisfy the applicable burden of

   persuasion that a colorable basis exists for determining that others similarly situated to Plaintiffs

   exists, and conditional certification and notice are warranted.

          C.       Additional Similarly Situated Individuals Will Joint the Lawsuit Once
                   Provided Notice

          Plaintiffs already demonstrated that other similarly employees will join in the case if

   provided notice. Moreover, it is reasonable to assume that where, as here, there are similarly

   situated employees with the same job titles who allegedly experienced the same FLSA violations

   (Defendants’ failure to pay overtime compensation), these potential class members would opt-in

   to the lawsuit if given notice of it. See Reab v. Electronic Arts, Inc., 2002 WL 320769510 at * 6

   (D. Col. 2002). Similarly, district courts have agreed to “accept, for purposes of deciding the

   instant motion for conditional collective action certification, that there are persons . . . who have

   suffered wage and hour violations who would join this suit if they had notice of the suit.” Barron,

   242 F. Supp. 2d at 1101.




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           As of the filing of this Motion, nine (9) additional Opt-In Plaintiffs learned of this action

   prior to any Court notice being issued, and have opted-in to this case besides the originally named

   Plaintiffs. This alone demonstrates that others desire to join if given notice of this matter. Based

   upon the Declarations from the named Plaintiffs and the other Opt-in Plaintiffs, as well as the

   consent forms filed with this Court, Plaintiffs have met their minimal burden of establishing the

   specific facts to demonstrate that other employees are interested in opting in. See Grayson v. K-

   Mart Corp., 79 F. 3d 1086, 1097 (11th Cir. 1996). In addition, allowing class notification to a

   potential class will certainly avoid multiple lawsuits where numerous employees have allegedly

   been harmed by the same violation. See also Prickett v. Dekalb County, 349 F.3d 1294, 1297 (11th

   Cir. 2003).

          Thus, a collective action is sought as the Defendants have acted or refused to act on grounds

   generally applicable to the class, thereby making appropriate the same relief with respect to the

   class as a whole. Additionally, questions of law or fact common to all class members who worked

   for Defendants predominate over any questions affecting only individual members. Hence, a

   collective action is superior to other available methods for the fair and efficient adjudication of

   this controversy. Accordingly, Plaintiffs seek Court authorization to provide: (1) the proposed

   “Notification” letter, attached as Exhibit 12 to be sent to all similarly situated employees; and (2)

   the proposed “Notice of Consent to Join” form, attached as Exhibit 13, which similarly situated

   employees can complete, sign, and file with the Court.

   III.   FACTORS IRRELEVANT TO THE COURT’S CONSIDERTAION

          A. The “Merits” of Plaintiffs’ Claims Are Not Considered When Determining
             Whether to Grant Notice

          Plaintiffs anticipate that Defendants may argue the merits of this case in response to this

   Motion. At this “conditional certification” stage, however, courts do not weigh the merits of the


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   underlying claims in determining whether potential opt-in plaintiffs may be “similarly situated.”

   See Kreher v. City of Atlanta, 2006 WL 7398272, at *4 (N.D. Ga. Mar. 20, 2006) (citing Young v.

   Cooper Cameron Corp., 229 F.R.D. 50, 54 (S.D.N.Y. 2005) (“The focus of [the conditional

   certification] inquiry is not whether there has been an actual violation of law, but rather on whether

   the proposed plaintiffs are “similarly situated under 29 U.S.C. § 216(b) with respect to their

   allegations that the law has been violated) and Gjurovich v. Emmanuel’s Marketplace, Inc., 282 F.

   Supp. 2d 91, 96 (S.D.N.Y. 2003) (“Once the Plaintiff makes a colorable claim for relief, the only

   inquiry necessary is whether the potential plaintiffs to be notified are similarly situated to the

   named plaintiff . . ..”).

           In Kreher, the court concluded that too high a burden would be placed on the plaintiffs at

   the preliminary notice stage if they were required to submit evidence of a highly particularized

   nature, as the defendant suggested. See id. at 2006 WL 7398272, at * 4. As such, the Kreher court

   concluded that although the plaintiffs’ Affidavits lacked some details, they established the

   existence of other employees employed in similar positions and subject to similar policies,

   warranting the court’s decision to grant the plaintiffs’ motion under the “fairly lenient standard”

   applied in the Eleventh Circuit. Id. at *4; see also Leuthold v. Destination America, 224 F.R.D.

   462, 468 (N.D. Cal. 2004) (“Defendants’ arguments in their opposition brief focus on the more

   stringent second tier analysis and raise issues that may be more appropriately addressed on a

   motion for decertification after notice is given to the proposed class.”); Goldman v. Radioshack

   Corp., No. Civ.A. 2:03-CV-032, 2003 WL 21250571, at *8 (E.D.Pa. Apr. 16, 2003) (“A fact-

   specific inquiry is conducted only after discovery and a formal motion to decertify the class is

   brought by the defendant.”); Felix De Asencio v. Tyson Foods, Inc.,130 F.Supp.2d 660, 663 (E.D.

   Pa. 2001) (“While this information [submitted by Defendant] may play a more significant role




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   after discovery and during an analysis of the second and final similarly situated tier, Plaintiffs have

   advanced sufficient evidence to meet their low burden at this first tier of the similarly situated

   question.”). Thus, setting Defendant’s anticipated factual/legal arguments aside for purposes of

   Plaintiffs’ Stage I Motion, Plaintiffs clearly have met their burden of proof on the “similarly

   situated” prong under Hipp.

           B.      Courts Do Not Consider the Need for Discovery During Stage I.

           The Eleventh Circuit and the district courts in it have consistently recognized that discovery

   at the first notice stage is unnecessary for the similarly situated determination. See Grayson, 79 F.

   3d at 1099 (holding that a district court may, but its not required to hold an evidentiary hearing

   prior to making its section 216(b) decision particularly where the Defendant’s rights are not

   substantially affected) (emphasis added in original); Lloredo v. Radioshack Corp., 2005 WL

   1156030, at *1 (S.D. Fla. May 12, 2005) (refusing to examine discovery in making its first stage

   similarly situated determination); see also Harrison v. Enterprise Rent-A-Car Co., 1998 U.S. Dist.

   LEXIS 13131, at *13 (July 1, 1998) (holding that the fact that subsequent discovery may prove

   the original plaintiffs and the opt-in plaintiffs are not after all “similarly situated” does not defeat

   conditional class certification); Schwed v. Gen. Elec. Co., 159 F.R.D 373, 375 (N.D.N.Y. 1995)

   (“Even where later discovery proves the putative class members to be dissimilarly situated, notice

   . . . prior to full discovery is appropriate as it may further the remedial purpose of the [FLSA]”).

           An examination of discovery is not appropriate because at this stage the Court is not

   making a factual determination regarding whether the putative class members are “similarly

   situated” question. See Pendelbury, at *3 (stating that a factual determination of the similarly

   situated question is not appropriate at this time because of the early stages of the litigation); Brown

   v. Money Tree Mortgage, Inc., 222 F.R.D. 676, 682 (D. Kan. 2004) (“[T]he court will examine the



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   individual plaintiffs’ disparate factual and employment setting, as well as various defenses

   available to the defendant which appear to be individual to each plaintiff, during the ‘second stage’

   analysis after the close of discovery.”); Goldman v. Radioshack Corp., 2003 WL 21250571, at *8

   (E.D. Pa. Apr. 16, 2003) (“A fact-specific inquiry is conducted only after discovery and a formal

   motion to decertify the class is brought by the defendant.”).

          Moreover, discovery is not necessary because courts at this stage do not resolve factual

   disputes or make credibility determinations. See Scott v. Heartland Home Finance, 2006 WL

   1209813, at *3 (N. D. Ga. May 3, 2006) (citing Severtson v. Phillips Beverage Co., 141 F.R.D

   276, 279 (D. Minn. 1992)); Camper v. Home Quality Mgmt., Inc., 200 F.R.D. 516, 520 (D. Md.

   2000) (“Factual disputes do not negate the appropriateness of court facilitated notice.”). In Scott,

   the court held that it was not appropriate for the court to address the merits of plaintiffs’ claims or

   weigh evidence and thus refused to consider the Defendant’s arguments regarding the variation in

   specific job duties, locations, working hours, or the availability of various exemptions. 2006 WL

   1209813, at *3; (citing Pendelbury, 2005 WL 82500, at *3 (factual matters regarding the

   applicability of exemptions to employees not appropriate at notice stage); Moss v. Crawford &

   Co., 201 F.R.D. 398, 410 (W.D. Pa. 2000) (“[V]ariations in the plaintiffs’ duties, job locations and

   hourly billing rates do not differentiate the collective class to the extent that it defeats the primary

   objectives of a section 216(b) action.”).

          Through the allegations in the Amended Complaint, and the Declarations and Consents to

   Join submitted to this Court, Plaintiffs have provided sufficient evidence to warrant notice of this

   lawsuit be sent to all salary paid employees who were employed by Defendants, anywhere in

   Florida, from August 7, 2014, through present, in any of the following positions: Case Manager,

   Long Term Care; Nursing Home Transition Specialist; or Medical Necessity Specialist. Because




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   the “similarly situated” determination at the notice stage is preliminary, Defendants will not be

   prejudiced by the facilitation of notice because it can later argue that Plaintiffs and the putative

   class members are not in fact “similarly situated” enough to proceed collectively to trial once

   discovery is complete.

   IV.     PLAINTIFFS’ NOTICE IS ACCURATE AND SHOULD BE POSTED AT
           DEFENDANT’S FACILITY AND EMAILED/MAILED.

           Plaintiffs’ proposed judicial notice is “timely, accurate, and informative.” See Hoffmann-

   La Roche, 493 U.S. at 172. As such, the proposed notice achieves the ultimate goal of providing

   employees accurate and timely notice concerning the pendency of the collective action, and should

   be adopted. Plaintiffs also request that in addition to permitting Plaintiffs to notify the potential

   class members by mail and electronic mail, this notice be posted at Defendants’ facilities where

   Plaintiffs and the putative class members are/were employed to further the broad remedial purpose

   of the FLSA. See Romero v. Producers Dairy Foods, Inc., 235 F.R.D. 474, 493 (E. D. Cal. Apr.

   19, 2006 ) (finding that first class mail, combined with posting provided for the “best notice

   practicable” to the potential class); Veliz v. Cintas Corp., 2004 WL 2623909, at *2 (N.D. Cal. Nov.

   12, 2004) (requiring employer to post notice and consent forms in all of its work sites); Johnson

   v. Am. Airlines, Inc., 531 F. Supp. 957, 961 (N.D. Tex. 1982) (finding direct mail and posting on

   company bulletin boards reasonable).

         V. NOTICE SHOULD BE GIVEN WITHIN A THREE-YEAR STATUTE OF
            LIMITATIONS

           Notice within a three-year statute of limitations period is appropriate in this case. The

   FLSA allows Plaintiffs to collect damages within a three-year statute of limitations if they can

   show that Defendants’ violation of the FLSA was “willful” – meaning the “employer either knew

   or showed reckless disregard for the matter of whether its conduct was prohibited by the statute.”



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   McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133 (1988). The FLSA makes clear that any

   employer cannot fail to pay non-exempt employees overtime compensation for hours worked over

   forty (40) per workweek. To do so is the very definition of willful. Despite the clear and long-

   standing law on this issue, Defendants never complied, and then systematically underpaid

   Plaintiffs and similarly situated class members. The allegations of the Plaintiffs and the evidence

   they filed to support it uniformly point to a clear practice of disregarding the applicable law – to

   the financial advantage of Defendants.                Thus, at the preliminary notice stage, Plaintiffs

   demonstrate a reasonable basis for a willful violation of the FLSA by Defendants such that mere

   notice should issue to current and former employees within a three-year statute of limitations.

   VI.     LIMITED DISCOVERY OF NAMES AND ADDRESSES OF THE PUTATIVE
           CLASS IS NECESSARY TO CARRY OUT NOTICE

           The opt-in provision of the FLSA requires some procedure for identifying and notifying

   potential class members. Morden v. T-Mobile USA, Inc., 2006 WL 1727987, at *3 (W. D. Wash.

   June 22, 2006) (compelling the defendant to produce the names and addresses of potentially

   similarly situated employees despite the fact that no conditional class certification motion was

   pending before the court). “The first step is to identify those employees who may be similarly

   situated and who may therefore ultimately seek to opt in to the action.” Id.                     As such, early

   discovery of a mailing list is routinely disclosed in FLSA collective actions because the lists are

   necessary to facilitate notice. See Hoffmann-La Roche, 493 U.S. at 165; see also Dietrich v.

   Liberty Square, 230 F.R.D. 574, 581 (N.D. Iowa 2005); Gieseke v. First Horizon Home Loan

   Corp., 408 F. Supp. 2d 1164, 1169 (D. Kan. Jan. 10, 2006).2 Thus, if this Court grants Plaintiffs’


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      The names and addresses of potential class members are discoverable during the regular course of discovery even
   absent judicial notice because current and former “Hourly plus Commission Paid inside Insurance Sales Agents” are
   critical fact witnesses to this lawsuit. Hoffmann-La Roche acknowledged the existence of “alternative bases for the
   discovery, for instance that the employees might have knowledge of other discoverable matter.” 493 U.S. at 160; see
   also Barton v. The Pantry, Inc., 2006 WL 2568462 (M.D.N.C. Aug. 31, 2006) (ordering defendant to produce a list


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   Motion, the Court should likewise order Defendants to provide Plaintiffs with a list of all putative

   class members’ names , email addresses, and home addresses to carry out notice.

                                                      CONCLUSION

            In light of the broad remedial provisions of the FLSA, see, e.g., Prickett v. DeKalb County,

   349 F.3d 1294, 1296-97 (11th Cir. 2003) (citations omitted), coupled with the incredibly lenient

   standard for conditional certification, Plaintiffs’ allegations and Declarations, along with all of the

   additional evidence of record –the Declarations and Consents of nine (9) opt-in Plaintiffs (to date

   prior to notice),– are more than sufficient to satisfy Plaintiffs’ relatively light burden of showing

   this Court that “there are [similarly situated] persons … who have suffered wage and hour

   violations who would join this suit if they had notice of the suit.” See Barron, supra.

                                        CERTIFICATE OF GOOD FAITH

            Pursuant to Local Rule S.D. Fla. L.R. 7.1(a)(1)(3), the undersigned counsel has conferred

   with Defendants’ Counsel, in a good faith effort to resolve this Motion prior to its filing, but

   Defendants advised that they oppose the relief sought in Plaintiffs’ Motion.

            WHEREFORE, Plaintiffs respectfully request that this Court conditionally certify this

   case as a collective action, and permit and supervise notice to all salaried employees in the defined

   class, who worked for Defendants, anywhere in Florida, from August 7, 2014, through present, in

   any of the following positions: (1) Case Manager, Long Term Care; or (2) Nursing Home

   Transition Specialist; or (3) Medical Necessity Specialist, who did not receive full and proper

   payment of time-and-a-half wages for all overtime hours worked for Defendants.




   of plaintiffs’ co-workers prior to conditional certification).



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             Dated this 15th day of March, 2018

                                                  Respectfully submitted,

                                                  /s/ Noah E. Storch_____
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                                      CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 15th day of March, 2018, a true and correct copy of the

   foregoing has been filed using CM/ECF system which will send a copy of same to all counsel of

   record.



                                                         /s/ Noah E. Storch__
                                                         Noah E. Storch, Esq.




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